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                                                                                   UNITED STATES DISTRICT COURT
                                                                                   EASTERN DISTRICT OF NEW YORK



                                                       BRIAN A. BACCHUS,                                             Docket No: '15CV0903 JM    RBB
                                                                              Plaintiff,                             COMPLAINT

                                                                                   vs.
                                                                                                                     JURY TRIAL DEMANDED
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                       NELSON, WATSON & ASSOCIATES, LLC,
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                                                                             Defendant.


                                                               BRIAN A. BACCHUS (hereinafter referred to as “Plaintiff”), by and through the
                                                       undersigned counsel, complains, states and alleges against NELSON, WATSON &
                                                       ASSOCIATES, LLC (hereinafter referred to as “Defendant”), as follows:
                                                                                               INTRODUCTION
                                                               1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                       Act, 15 U.S.C. § 1692, et seq., (“FDCPA”) and New York General Business Law (“NYGBL”) §
                                                       349.
                                                                                           JURISDICTION AND VENUE
                                                               2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                       and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                                                       1367.
                                                               3.     Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                       or omissions giving rise to the claim occurred in this Judicial District.




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                                                               4.       At all relevant times, Defendant conducted business within the State of New
                                                       York.
                                                                                                    PARTIES

                                                               5.       Plaintiff is an individual who is a citizen of the State of New York and resides in
                                                       this Judicial District.
                                                               6.       Plaintiff, a “consumer” as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                                                       to pay a debt.
                                                                7.      On information and belief, Nelson, Watson & Associates, LLC's principal place
                                                       of business is located in HAVERHILL, MASSACHUSETTS.
                                                                8.      Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                       owed by consumers.
                                                                9.      Defendant is a person who uses an instrumentality of interstate commerce or the
                                                       mails in a business the principal purpose of which is the collection of debts, or who regularly
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                                                       collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
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                                                       due another, and is therefore a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                 ALLEGATIONS

                                                                10.     Plaintiff's alleged debt was primarily for personal, family or household purposes
                                                       and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                11.     Sometime after the incurrence of the debt, but before the initiation of this action,
                                                       Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                                                                12.     At a time known only to Defendant, Plaintiff's alleged debt was assigned or
                                                       otherwise transferred to Defendant for collection.
                                                                13.     In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                                                       correspondence dated July 7, 2014, August 11, 2014 and June 23, 2014. (“Exhibit 1.”)
                                                                14.     Defendant's written correspondence to Plaintiff are “communications” as defined
                                                       by 15 U.S.C. § 1692a(2).
                                                                15.     As set forth in the following Counts, Defendant's communications violated the
                                                       FDCPA and NYGBL.




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                                                                                                FIRST COUNT
                                                                                         Violation of 15 U.S.C. § 1692f
                                                                                                Unfair Practices

                                                                16.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                17.    15 U.S.C. § 1692f provides a debt collector may not use unfair or unconscionable
                                                       means to collect or attempt to collect any debt.
                                                                18.    15 U.S.C. § 1692f(8) limits the language and symbols that a debt collector may
                                                       place on envelopes it sends to consumers.
                                                                19.    § 1692f(8) applies to language visible through a transparent window of an
                                                       envelope. See, Douglass v. Convergent Outsourcing,  765 F.3d 299  (3rd Cir 2014).
                                                                20.    § 1692f(8) prohibits the debt collector's disclosure of the debtor's account number
                                                       on the envelope.
                                                                21.    Defendant disclosed Plaintiff's account number in its three (3) mailings to
                                                       Plaintiff.
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                                                                22.    Defendant has violated § 1692f by disclosing Plaintiff's account number in its
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                                                       mailings to Plaintiff.

                                                                                              SECOND COUNT
                                                                                         Violation of 15 U.S.C. § 1692g
                                                                                              Validation of Debts

                                                                23.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                24.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                       with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                       information is contained in the initial communication or the consumer has paid the debt, send the
                                                       consumer a written notice containing certain enumerated information.
                                                                25.    One such requirement is that the debt collector provides “the name of the creditor
                                                       to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
                                                                26.    A debt collector has the obligation, not just to convey “the name of the creditor to
                                                       whom the debt is owed,” but also to convey such clearly.
                                                                27.    Even if a debt collector conveys the required information, the collector
                                                       nonetheless violates the FDCPA if it conveys that information in a confusing or contradictory
                                                       fashion so as to cloud the required message with uncertainty.



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                                                               28.    When determining whether “the name of the creditor to whom the debt is owed,”
                                                       has been conveyed clearly, an objective standard, measured by how the “least sophisticated
                                                       consumer” would interpret the notice, is applied.
                                                               29.    Here, Defendant’s July 7, 2014 letter notes “Creditor: Capital One Services, LLC”
                                                       and “Original Creditor: Sony Card” for account number 302469382.
                                                               30.    Defendant’s August 11, 2014 letter notes “Creditor: CAPITAL ONE, N.A.” and
                                                       “Original Creditor: Chase Bank USA, National Association” for the same account number
                                                       302469382.
                                                               31.    Defendant’s two (2) letters concerning the same account set forth different
                                                       creditors and original creditors.
                                                               32.    Defendant has violated § 1692g as it failed to clearly convey the “creditor to
                                                       whom the debt is owed.”

                                                                                              THIRD COUNT
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                                                                                       Violation of 15 U.S.C. § 1692e
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                                                                         False or Misleading Representations as to the Name of the
                                                                                   Creditor to Whom the Debt is Owed

                                                               33.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               34.    15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                       misleading representation or means in connection with the collection of any debt.
                                                               35.    While § 1692e specifically prohibits certain practices, the list is nonexhaustive,
                                                       and does not preclude a claim of falsity or deception based on nonenumerated practice.
                                                               36.    Collection notices are deceptive if they can be reasonably read to have two or
                                                       more different meanings, one of which is inaccurate.
                                                               37.    The question of whether a collection letter is deceptive is determined from the
                                                       perspective of the “least sophisticated consumer.”
                                                               38.    For purposes of 15 U.S.C. § 1692e, the failure to clearly and accurately identify
                                                       the creditor to whom the debt is owed is unfair and deceptive to the least sophisticated consumer.
                                                               39.    Because the collection letter in the instant case was reasonably susceptible to an
                                                       inaccurate reading, as described above, it is deceptive within the meaning of the FDCPA.
                                                               40.    The “least sophisticated consumer” would likely be deceived by Defendant's
                                                       conduct.



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                                                               41.      Defendant has violated § 1692e by using a false, deceptive and misleading
                                                       representation in its attempt to collect a debt.

                                                                                              FOURTH COUNT
                                                                              Violation of New York General Business Law § 349

                                                               42.      Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               43.      Defendant owed a duty to Plaintiff to effect its collection of Plaintiff's alleged
                                                       debt with reasonable care.
                                                               44.      Defendant's deception as described herein shows a lack of exercise of reasonable
                                                       care in Defendant's collection of the alleged debt.
                                                               45.      Defendant breached its duty to collect Plaintiff's alleged debt with reasonable
                                                       care.
                                                               46.      Defendant's conduct was committed by Defendant in the conduct of a business,
                                                       trade or commerce or the furnishing of a service in New York State and constitutes a violation of
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                                                       NY GBL § 349(a).
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                                                               47.      Defendant's conduct was consumer-orientated in that the letter was sent in an
                                                       effort to collect an alleged consumer debt.
                                                               48.      Defendant's conduct has a broader impact on consumers at large as, upon
                                                       information and belief, Defendant has sent the subject form letter to hundreds of consumers.
                                                               49.      Plaintiff is a reasonable consumer.
                                                               50.      Defendant's conduct would mislead a reasonable consumer.
                                                               51.      Defendant engaged in a material deceptive act or practice as described herein.
                                                               52.      Defendant's conduct caused plaintiff to suffer injury.
                                                               53.      Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
                                                       GBL § 349(h).

                                                                                                 JURY DEMAND

                                                               54.      Plaintiff hereby demands a trial of this action by jury.

                                                                                             PRAYER FOR RELIEF
                                                               WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                   a.      Statutory damages of $1,000.00 against Defendant pursuant to 15 U.S.C. §


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                                                                       1692k; and
                                                                b.     Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
                                                                c.     Damages against Defendant pursuant to NYGBL § 349; and
                                                                d.     Plaintiff's costs; all together with
                                                                e.     Such other relief that the Court determines is just and proper.


                                                       DATED: April 21, 2015

                                                                                                   BARSHAY SANDERS, PLLC

                                                                                                   By: _/s/ Craig B. Sanders ____________
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